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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SCOTT JOHNSON,                                      Case No. 21-cv-05813-SVK
                                   8                    Plaintiff,
                                                                                             ORDER TO SHOW CAUSE RE
                                   9             v.                                          SETTLEMENT
                                  10     SNC ENTERPRISE,                                     Re: Dkt. No. 18
                                  11                    Defendant.

                                  12          Plaintiff reports that this case has settled. All previously-scheduled deadlines and
Northern District of California
 United States District Court




                                  13   appearances are vacated.

                                  14          By July 19, 2022, the parties shall file a stipulation of dismissal. If a dismissal is not filed

                                  15   by the specified date, then the parties shall appear on July 26, 2022 at 11:00 a.m. and show cause,

                                  16   if any, why the case should not be dismissed. Additionally, the parties shall file a statement in

                                  17   response to this Order no later than July 19, 2022, describing with specificity (1) the parties’

                                  18   efforts to finalize settlement within the time provided, and (2) whether additional time is

                                  19   necessary, the reasons therefor, and the minimum amount of time required to finalize the

                                  20   settlement and file the dismissal.

                                  21          If a dismissal is filed as ordered, the Order to Show Cause hearing will be automatically
                                       vacated and the parties need not file a statement in response to this Order.
                                  22
                                              SO ORDERED.
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                                       Dated: May 31, 2022
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                                                                                                     SUSAN VAN KEULEN
                                  27                                                                 United States Magistrate Judge

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